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                                         December 16, 2015



     Honorable Noel L. Hillman
     Mitchell H. Cohen Building
        & U.S. Courthouse
     4 & Cooper Streets
      th

     Chambers – 3A
     Camden, NJ 08101


            Re:    Sparkle Hill, Inc. v. Invecor, LLC et al.
                   US District Court for the District of New Jersey No. 13-4172
                   SMB No. 02244-0105

     Dear Honorable Judge Hillman:

             On behalf of the Defendant, Invecor, LLC, and regarding the motion for class
     certification filed by Sparkle Hill, Inc., the Defendant has spoken to this Court’s
     chambers and received approval to file a response in opposition to the motion no later
     than January 7, 2016.


                                                 Very truly yours,

                                                 SWANSON, MARTIN & BELL, LLP




                                                 Catherine Basque Weiler

     CBW:crf
     Enclosure
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 cc:   Honorable Noel L. Hillman (w/encl.)
